
PER CURIAM.
The defendant’s convictions are affirmed. See Tejeda-Bermudez v. State, 427 So.2d 1096 (Fla. 3d DCA 1983); State v. Hudson, 397 So.2d 426 (Fla. 2d DCA 1981); McKnight v. State, 319 So.2d 647 (Fla.3d DCA 1975).
The state has conceded to an error in the sentencing documents which resulted in a minimum mandatory three-year sentence for the conviction of rape without use or threatened use of a firearm. We therefore reverse that portion of the sentence and remand to the trial court with directions to correct the sentencing error.
Affirmed in part, reversed in part and remanded with directions.
